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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 15-81522-CIV-MARRA/MATTHEWMAN

  KAREN C. YEH HO,

        Plaintiff,
  vs.

  WELLS FARGO BANK, N.A.,

        Defendant.
  ________________________/

                          ORDER GRANTING MOTION TO DISMISS

        THIS CAUSE is before the Court upon Defendant Wells Fargo Bank N.A.’s Motion

  to Dismiss Plaintiff’s Complaint [DE 10], and Plaintiff’s Motion to Strike Defendant

  Wells Fargo Bank, N.A.’s Motion to Dismiss Plaintiff’s Complaint [DE 11].1 The Court

  has carefully considered the entire Court file and is otherwise fully advised in the

  premises.

                                      INTRODUCTION

        The following is gleaned from Plaintiff’s Complaint, the exhibits attached

  thereto, and the public records of the Fourth District Court of Appeal and the Palm

  Beach County Circuit Court.2 This case was filed on November 11, 2015, shortly after


        1
           Plaintiff did not file a “Response,” to the Motion to Dismiss, but filed instead
  a Motion to Strike the Motion to Dismiss. The contents of the Motion to Strike are
  clearly Plaintiff’s opposition memorandum to the Motion to Dismiss, and will be
  considered as such.
        2
          This Court may take judicial notice of public records without converting a
  motion to dismiss into a motion for summary judgment. Universal Express, Inc. v.
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  the Fourth District Court of Appeals affirmed the foreclosure court’s judgment

  allowing foreclosure on a property located in Boynton Beach, Palm Beach County,

  Florida (the “Property”). A brief description of the foreclosure action is as follows.

        Plaintiff Defaults on The Note and Mortgage
        and Foreclosure Proceedings are Commenced

        On November 30, 2007, Plaintiff executed a promissory note (“Note”) secured

  by a mortgage (“Mortgage”) executed by Plaintiff and her husband (collectively,

  “Borrowers”) on the Property. [Compl., Ex. B]. The loan was subsequently

  transferred to Defendant, who filed a foreclosure complaint February 16, 2012,

  against the Borrowers based on a payment default. [Compl., ¶ 7].

        On June 20, 2012, initial counsel for the Borrower (“Initial Counsel”), filed a

  motion to dismiss the foreclosure complaint. [D.E. 10, Ex. A, Doc. 29].3 After an



  U.S. S.E.C., 177 F. App’x 52, 53-54 (11th Cir. 2006). In considering a motion to
  dismiss, this Court may, and does in this case, take judicial notice of the public
  record filings in the foreclosure action that is referenced in the pleadings. See Myrtyl
  v. Nationstar Mortg. LLC, Case No. 15-CIV-61206, 2015 WL 4077376, at *1 (S.D. Fla.
  July 6, 2015) (citing Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1278 (11th Cir.
  1999)). All references to D.E. 10 are taken from the public record which may be
  accessed at for the Palm Beach County Circuit Court. The case docket may
  https://showcase.mypalmbeachclerk.com be accessed by entering Plaintiff’s first
  name (Karen) and last name (Yeh Ho). The case number is 50-2012-CA-002992-XXXX-
  MB. The public may access the Fourth District Court of Appeal docket sheet for
  Plaintiff’s appeal (Case No. 4D15-291) at http://199.242.69.70/pls/ds/dsdocket.
        3
            This information comes from the public record as explained in footnote 2.
  All further references to D.E. 10 refer to the public record available at the Palm
  Beach County Circuit Court (Ex. A), or the Fourth District Court of Appeal (Ex. B).
  Plaintiff inaccurately asserts that an answer was filed on this date. [See Compl., ¶
  8].

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  extended period of discovery, on January 7, 2014, the trial court allowed Borrowers’

  Initial Counsel to withdraw. [D.E. 10, Ex. A, Doc. 49]. The Borrowers then continued

  to defend the case actively for a time pro se.

        Plaintiff Purports to Obtain a Loan Modification

        In her Complaint, Plaintiff alleges that she was solicited for a loan modification

  in August of 2013. [Compl., ¶¶ 9-10]. Plaintiff asserts that she completed the trial

  payments and timely returned permanent modification documentation, an assertion

  belied by her own attachments. [Compl., ¶¶ 11-13]. Instead, Plaintiff’s attachments

  clearly evidence that, at a minimum, her loan modification failed when her husband

  neglected to sign the loan modification as required. [Compl., Exs. B-C]. Plaintiff

  fails to address this deficiency in her loan modification request and instead asserts

  that Defendant failed to respond to her request for a loan modification. [Compl., ¶¶

  16-18]. On March 14, 2014, Plaintiff filed a “motion to dismiss” alleging acceptance

  of the purported loan modification. [Compl., ¶ 37].

        After Trial was Set, the Borrowers’ Subsequent Counsel
        Attempted, But Failed, to Have the Trial Continued and
        a Consent Final Judgment Was Entered in Favor of Defendant

        On April 28, 2014, following a ruling on multiple motions to dismiss, including

  her motion to dismiss related to a loan modification, Plaintiff filed for the first time a

  document entitled “Answer.” [D.E. 10, Ex. A., Doc. 73]. On May 13, 2014, Plaintiff’s

  husband also filed an “Answer.” [D.E. 10, Ex. A, Doc. 81].




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        On May 27, 2014, the trial court set a non-jury trial for July 17, 2014. [D.E. 10

  Ex. A, Doc. 85]. Shortly thereafter, on May 29, 2014, the Borrowers new counsel,

  Jeffrey Harrington, Esq. (“Subsequent Counsel”), filed a notice of appearance. [D.E.

  10, Ex. A, Doc. 88; Compl., ¶ 38]. Just two days before trial, Plaintiff filed a motion

  for continuance, which was denied at a hearing the morning of trial. [D.E. 10, Ex. A,

  Docs. 97, 102].

        On the day of trial, July 17, 2014, counsel for the Plaintiff and Defendant

  executed a stipulation to the entry of judgment in favor of Defendant (“Stipulation to

  Judgment”) whereby Defendant agreed to request a sale date no less than one-

  hundred twenty days from the date of the judgment and the Borrowers (I)

  acknowledged Defendant’s standing; (ii) admitted their default; (iii) admitted

  Defendant fulfilled all conditions precedent; (iv) admitted their interest in the

  subject property was inferior; (v) withdrew all affirmative defenses or counterclaims

  regarding fulfillment of conditions precedent; (vi) acknowledged the validity of the

  debt; (vii) consented to entry of judgment; and (vii) waived all rights or defenses to

  object or otherwise impede or delay the foreclosure sale and issuance of the

  certificate of title. [D.E. 10, Ex. A, Doc. 103; Compl., Ex. D]. Accordingly, a final

  judgment was entered (“Final Judgment”), which set a foreclosure sale date of

  November 14, 2014. [D.E. 10, Ex. A, Doc. 100].




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        Foreclosure Sale Occurred on November 14, 2014, Before and After
        Which Borrowers Filed a Series of Confusing and Inapposite “Motions”

        On October 14, 2014, an order was entered permitting Borrowers’ Subsequent

  Counsel to withdraw from the foreclosure action. [D.E. 10, Ex. A, Doc. 123]. On that

  same day, Borrowers appear to have filed a motion to vacate the sale and set a trial

  date. [D.E. 10, Ex. A, Doc. 122]. Similarly, on November 10, 2014, Plaintiff filed yet

  another motion to cancel the sale. [D.E. 10, Ex. A., Doc. 125; Compl. ¶ 49]. On

  November 12, 2014, the foreclosure court denied Plaintiff’s requests to cancel

  the sale. [D.E. 10, Ex. A., Doc. 124; Compl. ¶ 50].

        On November 14, 2014, pursuant to the Final Judgment, the Property was sold

  at a foreclosure sale (“Foreclosure Sale”). [D.E. 10, Ex. A, Doc 126]. Following the

  Foreclosure Sale, the Borrowers again continued to file a series of confusing and

  unintelligible motions: (i) “motion for reexam the summary judgment,” (ii)

  “Objection to the Sale”, (iii) “Compel to Produce,” (iv) “Notice: Defendant Continue

  to Pay Homeowners Association Fee and Insurance,” (v) “Notice: Obtaining Property

  by Fraud,” and (vi) “Motion to Drop an Innocent Man Louie NG from Summary

  Judgment.” [D.E. 10, Ex. A., Docs. 130-131, 133, 135-137, 144]. On January 16,

  2015, the foreclosure court denied Plaintiff’s request to vacate the Final Judgment or

  rescind the Foreclosure Sale. [D.E. 10, Ex. A, Doc. 145].




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         Borrowers Appeals

         On January 23, 2015, the Borrowers filed a Notice of Appeal. On February 16,

  2015, Borrowers filed their brief with the Fourth District Court of Appeal. [D.E. 10,

  Ex. B]. Following the briefing, on October 1, 2015, the Fourth District Court of

  Appeal affirmed, per curiam, the foreclosure on the Property. [Id.]. On October 26,

  2015, the Fourth District Court of Appeal denied Appellant’s Motion for the Court to

  issue a written opinion. [Id.].

         Plaintiff Files this Action in Federal Court

         Plaintiff filed this action on November 11, 2015, shortly after her motion for

  rehearing was denied by the Fourth District Court of Appeal. [Id.]. To the extent

  Plaintiff’s Complaint is discernible, she appears to allege claims for: (I) violation of

  the Real Estate Settlement Practices Act (“RESPA”); (ii) fraud; (iii) violations of

  Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”); (iv) wrongful

  foreclosure; (v) violations of the Wall Street Reform and Consumer Protection Act,

  Bureau of Consumer Financial Protection (“CFPA”); (vi) violations of the Fair Debt

  Collection Practices Act (“FDCPA”); and (vii) infliction of emotional distress. Among

  many other arguments, Defendant asserts that all of Plaintiff’s claims fail to state a

  causes of action.




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                                     LEGAL STANDARD

        Rule 8(a)(2) of the Federal Rules of Civil Procedure requires "a short and plain

  statement of the claim showing that the pleader is entitled to relief." Fed. R. Civ. P.

  8(a)(2). The Supreme Court has held that "[w]hile a complaint attacked by a Rule

  12(b)(6) motion to dismiss does not need detailed factual allegations, a plaintiff's

  obligation to provide the ‘grounds' of his ‘entitlement to relief' requires more than

  labels and conclusions, and a formulaic recitation of the elements of a cause of

  action will not do. Factual allegations must be enough to raise a right to relief above

  the speculative level." Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)

  (internal citations omitted).

        "To survive a motion to dismiss, a complaint must contain sufficient factual

  matter, accepted as true, to state a claim to relief that is plausible on its face."

  Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quotations and citations omitted). "A

  claim has facial plausibility when the plaintiff pleads factual content that allows the

  court to draw the reasonable inference that the defendant is liable for the

  misconduct alleged." Id. Thus, "only a complaint that states a plausible claim for

  relief survives a motion to dismiss." Id. at 1950. When considering a motion to

  dismiss, the Court must accept all of the plaintiff's allegations as true in determining

  whether a plaintiff has stated a claim for which relief could be granted. Hishon v.

  King & Spalding, 467 U.S. 69, 73 (1984).




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                                        DISCUSSION

  A.    “Count I - Violation of Loss Mitigation Procedures Law”

        In Count I, Plaintiff appears to be complaining that a permanent loan

  modification was in place and the foreclosure complaint should have been dismissed.

  Compl. ¶ 69. She also complains that Defendant did not notify her in writing within 5

  days after receiving her loss mitigation application that the application had been

  received, and whether the application was either complete or incomplete, in

  violation of 12 C.F.R. § 1024.41(b)(2)(B); that Defendant did not evaluate what loss

  mitigation options were available to her and did not provide her with a written notice

  stating which loss mitigation options, if any, Defendant would offer her, in violation

  of 12 C.F.R. § 1024.41(c); and that Defendant moved forward in the foreclosure

  process after having received a completed loan modification application in violation

  of 12 C.F.R. § 1024.41(g). Compl. ¶ 69.

        Initially, the Court notes that the basis for most of the alleged violations is

  dependant on there being a permanent loan modification in place, which clearly

  there was not. As exhibits attached to the Complaint plainly show, at a minimum,

  Plaintiff’s loan modification failed when her husband neglected to sign the loan

  modification application as required. [Compl., Exs. B-C].

        In addition, to the extent Plaintiff is attacking actions taken by Defendant

  during the foreclosure action, any such claims are barred by Florida’s Litigation

  Privilege. The Supreme Court of Florida has held that “[a]bsolute immunity must be

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  afforded to any act occurring during the course of a judicial proceeding . . . so long

  as the act has some relation to the proceeding.” Echevarria, McCalla, Raymer,

  Barrett & Frappier v. Cole, 950 So. 2d 380, 384 (Fla. 2007) (internal citation omitted)

  (applying the litigation privilege to default letters and denying borrower’s claim).

  Relying on Florida’s litigation privilege, courts have dismissed claims by finding that

  the filing of a claim in a judicial proceeding cannot form the basis for a lawsuit.

  Levin, Middlebrooks, Mabie, Thomas, Mayes Mitchell, P.A. v. U.S. Fire Insurance Co.,

  639 So. 2d 606, 608 (Fla. 1994) (reasoning that “[j]ust as participants in litigation

  must be free to engage in unhindered communication, so too must those participants

  be free to use their best judgment in prosecuting or defending a lawsuit without fear

  of having to defend their actions in a subsequent civil action for misconduct.”);

  Korman v. Gray, 13-80031-CIV, 2013 WL 6002211, *3 (S.D. Fla. Nov. 12, 2013) (stating

  that “Florida's litigation privilege provides Defendants with absolute immunity for

  acts occurring during the course of judicial proceedings”) (citing Jackson v. BellSouth

  Telecomm., 372 F.3d 1250, 1274 (11th Cir. 2004); see also Gaisser v. Portfolio

  Recovery Assocs., LLC, 571 F. Supp. 2d 1273, 1280 (S.D. Fla. 2008); Mikesell v. FIA

  Card Servs., N.A., No. 2:12-cv-606-FtM-29DNF, 2013 WL 5781241, at *2 (M.D. Fla. Oct.

  25, 2013).

        Here, Plaintiff claims that Defendant violated the Real Estate Settlement

  Practices Act by simply prosecuting the foreclosure. However, Defendant’s activities

  to pursue foreclosure, such as filing the foreclosure complaint, are inherent and even

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   required as part of every judicial foreclosure proceeding. Accordingly, the litigation

   privilege precludes Plaintiff from asserting any claim arising out of Defendant’s acts

   taken in connection with that foreclosure action. Thus, Count I must be dismissed

   with prejudice.

         B.     Fraud in the Inducement and Fraudulent Misrepresentation
                (Counts II and III)

         Plaintiff alleges that Defendant “engaged in the tort of deceit,” by

   representing to her “that after all trial period payments are timely made, Defendant

   would permanently modify Plaintiff[’s] mortgage,” and by stating in writing that she

   was “approved for a streamline permanent loan modification.” Compl. ¶¶ 88-90, 98-

   100. She cites to exhibits A and B attached to the Complaint. Plaintiff is mistaken as

   to what these exhibits represent, especially when viewed in light of exhibit C.

         Exhibit A is Defendant’s July 20, 2013, offer to Plaintiff to enter into a trial

   period plan for a mortgage modification. In order to qualify for this “Streamlined

   Modification,” Plaintiff was required to make monthly payments by certain due dates,

   and then she would “receive your final modification document to sign.” Compl. Ex. A

   at 1 of 8. The offer states, “[o]nce you have successfully made each of the payments

   above by their due dates, you have submitted the required signed copies of your

   modification agreement, and we have signed the modification agreement, your

   mortgage will be modified in accordance with the terms described in your final

   modification agreement.” Compl. Ex. A at 4 of 8 (emphasis added).



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         As Plaintiff repeatedly states, she timely made all trial period payments.

   Therefore, Exhibit B is Defendant’s Loan Modification Agreement, between Plaintiff

   and her husband, and Defendant. Compl. Ex. B at 1. However, only Plaintiff signed

   the documents, and the signature line for her husband, in all instances, is blank.

   Compl. Ex. B at 7-9.

         Exhibit C is Defendant’s response to Plaintiff’s inquiry regarding her loan

   modification. The letter indicates that in order to complete the loan modification,

   Plaintiff needed to provide Defendant with her marital status, a divorce decree, and

   modification documents that were signed by both Plaintiff and her husband. The

   letter states that after numerous attempts to contact her, Defendant was unable to

   complete a modification for Plaintiff’s account as she did not return the original

   signed modification documents. As a result, Plaintiff’s account was removed from

   review on January 13, 2014.

         The letter states a new review was initiated on March 17, 2014, but Defendant

   was unable to complete this review as Plaintiff did not provide Defendant with

   updated financial information. Plaintiff’s account was removed from consideration

   on May 21, 2014. Another review was initiated on August 7, 2014. However,

   Defendant states it was unable to complete this review as they did not receive a

   response from Plaintiff. Her account was then permanently removed from review on

   September 16, 2014 and Defendant wrote that we are, “unable to approve payment

   assistance options prior to the foreclosure sale because due to no response from you.

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   We’re unable to rescind the foreclosure sale, because the account didn’t qualify for

   payment assistance options.” Compl., Ex. C at 3.

         As stated above, Plaintiff’s claim that she timely returned all loan modification

   documentation is belied by her own attachments. Compl., ¶¶ 11-13, Ex. C. As

   evidenced by Defendant’s letter at exhibit C, Plaintiff needed, at a minimum, to

   return the loan modification documents with her husband’s signature, which she did

   not do. For this reason alone, Counts II and III must be dismissed with prejudice.

   These counts are also barred by Florida’s Litigation Privilege, as discussed above.

         C.       FDUTPA Claim (Count IV)

         According to the Florida legislature, Defendant, as a National Bank, is not

   subject to FDUTPA. Fla. Stat. § 501.212(4)(c) specifically exempts banks from

   FDUTPA that are regulated by federal agencies. Wells Fargo Bank N.A. is a federally

   chartered bank subject to regulation by the Office of the Comptroller of the Currency

   (the “OCC”).

         In fact, the Court does not have to go beyond the allegations of the Complaint

   to conclude that Plaintiff’s clams under FDUTPA must be dismissed with prejudice. In

   George v. Wells Fargo Bank, N.A., 13-80776-CIV, 2014 WL 61487, *5 (S.D. Fla. Jan. 8,

   2014) (Marra, J.) (“George”), the Court found that because the Plaintiff had sued the

   entity known as “Wells Fargo Bank, N.A.,” and “[t]here could be no dispute that

   ‘N.A.’ stands for ‘National Bank,’” Defendant was exempt from FDUTPA. Id. Just as

   in the George case, Plaintiff has brought suit against Wells Fargo Bank, N.A. and

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   cannot argue that additional facts are necessary to conclude that Defendant is

   exempt from the application of FDUTPA. The claims against Defendant based on

   violations of FDUTPA must be dismissed with prejudice because any amendment

   would be futile.

         D.     “Wrongful Foreclosure is a Tortious Act” (Count V)

         In this count, Plaintiff complains that the consent judgment entered in the

   foreclosure action was obtained without her consent, in violation of 18 U.S.C. § 1343,

   “fraud by wire, radio, or television.” Compl. ¶ 135. Plaintiff further alleges that

   “Defendant was aware of the permanent streamline loan modification that was in

   place since September 1, 2013,” and “Defendant failed to prevent the foreclosure

   judgment or the foreclosure sale. . .” Compl. ¶¶ 136-137.

         Again, this claim must fail as the facts that form the basis of the claim are

   belied by the attachments to the Complaint. In addition, this count is barred by

   Florida’s Litigation Privilege, as discussed above.

         E.     Wrongful Foreclosure Due to Lack of Standing (Count VI)

         In Count VI, Plaintiff appears to complain that Defendant did not have standing

   to enforce the mortgage and foreclose on the Property because the “purported copy

   of the Note in the complaint for the foreclosure suit does not show assignment to the

   alleged owner, Federal National Mortgage Association or the alleged servicer, Wells

   Fargo Bank.” Compl. ¶ 142.




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         Defendant properly argues that Plaintiff’s claim for “wrongful foreclosure” is

   barred by the Rooker-Feldman Doctrine. The United States Supreme Court has made

   it clear that federal courts are not empowered to overrule legitimate decisions made

   by state courts. See Rooker v. Fidelity Trust Co., 263 U.S. 413, 415–16 (1923); D.C.

   Court of Appeals v. Feldman, 460 U.S. 462,476–82 (1983) (“Rooker-Feldman”).

         Rooker–Feldman limits the subject matter jurisdiction of federal district courts

   and courts of appeal over certain matters related to previous state court litigation.

   Godman v. Sipos, 259 F.3d 1327, 1332 (11th Cir. 2001). Specifically, Rooker-Feldman

   “precludes lower federal court jurisdiction over claims seeking review of state court

   judgments . . . no matter how erroneous or unconstitutional the state court judgment

   may be.” Brokaw v. Weaver, 305 F.3d 660, 664 (7th Cir. 2002) (citing Remer v.

   Burlington Area Sch. Dist., 205 F.3d 990, 996 (7th Cir. 2000)).

         The Eleventh Circuit has “delineat[ed] the boundaries of the Rooker–Feldman

   Doctrine [to include]: ‘cases brought by state-court losers complaining of injuries

   caused by state-court judgments rendered before the district court proceedings

   commenced and inviting district court review and rejection of those judgments.’”

   Nicholson v. Shafe, 558 F.3d 1266, 1274 (11th Cir. 2009) (quoting Exxon Mobil Corp.

   v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005)).

         Rooker-Feldman applies even when the claim was not argued in state court.

   Liedel v. Juvenile Court of Madison Cnty., 891 F.2d 1542, 1545 (11th Cir. 1990).

   Although the Eleventh Circuit has recognized an exception to Rooker-Feldman when

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   the party did not have a “reasonable opportunity” to raise their federal claims in

   state court, that exception only applies when the plaintiff did not have notice and, as

   a result, did not participate in the state court proceedings that he seeks to

   collaterally attack in federal court. Wood v. Orange Cnty., 715 F.2d 1543, 1547-48

   (11th Cir. 1983) (finding that because of the lack of notice and the inability to

   participate in the state proceedings, the plaintiffs did not have a “reasonable

   opportunity” to assert their claims and therefore, their claims were not “inextricably

   intertwined”). Such an exception is not applicable here as Plaintiff received proper

   notice of the underlying foreclosure case and appears to have fully participated. See

   also Figueroa v. Merscorp, Inc., 766 F. Supp. 2d 1305, 1326 (S.D. Fla. Jan. 31, 2011)

   (“Even if a default was entered in that case, it would not preclude a finding that

   [plaintiffs] had a full and fair opportunity to litigate given that they were aware of

   the litigation and made a conscious decision to not respond”). For these reasons,

   Plaintiff’s claim for a purported “wrongful foreclosure” fails as this Court lacks

   jurisdiction to reconsider the foreclosure court’s finding that Defendant had standing

   to foreclose.

         F.        Violations of the Consumer Financial Protection Act With Respect to
                   Loan Servicing and Foreclosure Processing (Counts VII and VIII)

         Plaintiffs bring claims pursuant to the CFPA, specifically enumerating §§

   5531(a) and 5536(a). As an initial matter, Plaintiff provides no facts beyond

   conclusory statements that Defendant engaged in unfair and abusive practices to



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   support a finding that Defendant may be in violation of the CFPA. Furthermore,

   Plaintiff provides no statutory basis, and the Court can find none, for finding a

   private right of action under these provisions of the statute, which outline duties,

   authorities and enforcement powers of the CFPB. Nguyen v. Ridgewood Sav. Bank,

   No. 14-CV-1058 MKB, 2015 WL 2354308, *11 (E.D.N.Y. May 15, 2015) (collecting cases),

   appeal dismissed (July 24, 2015), appeal dismissed (July 28, 2015), appeal dismissed

   (July 29, 2015); see also, Diaz v. Argon Agency Inc., No. CV 15-00451 JMS-BMK, 2015

   WL 7737317, *3 (D. Haw. Nov. 30, 2015) (“there is no private right of action under

   these provisions of the CFPA, which merely outline duties, authorities and

   enforcement powers of the CFPB”). Accordingly, any claims brought by Plaintiff

   pursuant to the CFPA must be dismissed with prejudice.

         G.     Plaintiff’s Fair Debt Collection Practices Act Claim (Count IX)

         Plaintiff next claims that Defendant violated the FDCPA. However, there are

   again no factual allegations in support of these claims, merely a listing of no less than

   26 provisions of the FDCPA Plaintiff claims Defendant allegedly violated. In order to

   state a claim for violation of the FDCPA, Plaintiff must show that Defendant is a debt

   collector as defined by the FDCPA. Kaplan v. Assetcare, Inc., 88 F. Supp. 2d 1355,

   1360-61 (S.D. Fla. 2000) (“Kaplan”). 15 U.S.C. § 1692a(6) explicitly states that a

   creditor collecting its own debts is not a debt collector. See 15 U.S.C. § 1692a(6).

   Moreover, under Florida law, a mortgagee attempting to enforce a mortgage is not a

   debt collector for purposes of the FDCPA. See Trent v. Mortg. Elec. Registration Sys.,

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   Inc., 618 F. Supp. 2d 1356, 1360-61 (M.D. Fla. 2007) (“Trent”).

          The actions complained of by Plaintiff, to the extent the Court can determine

   those allegations, are clearly those of Defendant as a mortgagee attempting to

   enforce a mortgage, or a creditor attempting to collect its own debt. Accordingly,

   because Defendant is not a debt collector, Count IX fails to state a cause of action

   and must be dismissed. See Trent, 618 F. Supp. 2d at 1360-61. As there are no other

   plausible factual scenarios for this claim, this count will be dismissed with prejudice.

          H.     Claim for Infliction of Emotional Distress (Count X)

          Finally, Plaintiff purports to state a claim for infliction of emotional distress

   due to Defendant’s “fraudulently mishandl[ing] the loss mitigation procedures by

   negating a valid loan modification contract and failure to provide information about

   the status of the modification and abruptly reject[ing] the payment of the loan” and

   by filing “a fraudulent consent judgment without her knowledge . . .” Compl. ¶ 187.

   This claim fails because (1) it is barred by Florida’s Litigation Privilege, (2) it fails to

   state a claim because, as discussed above, there was no “valid loan modification

   contract,” and (3) Plaintiff had counsel when the consent judgment was entered. For

   these reasons Count X of the Complaint must be dismissed with prejudice.

                                          CONCLUSION

          In accordance with the conclusions and rulings made herein, it is hereby

          ORDERED AND ADJUDGED that Defendant Wells Fargo Bank N.A.’s Motion to

   Dismiss Plaintiff’s Complaint [DE 10] is granted in its entirety. Plaintiff’s Complaint is

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   dismissed with prejudice. Plaintiff’s Motion to Strike Defendant Wells Fargo Bank,

   N.A.’s Motion to Dismiss Plaintiff’s Complaint [DE 11] is denied. In accordance with

   Fed. R. Civ. P. 58, final judgment will be entered by separate order. Any pending

   motions are denied as moot. This case is closed.

         DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

   Florida, this 26th day of August, 2016.

                                             _________________________
                                             KENNETH A. MARRA
                                             United States District Judge




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